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                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,              No. 3:22-cr-00071-SLG-MMS

                  Plaintiff,            COUNT 1:
                                        DISTRIBUTION OF A CONTROLLED
        vs.                             SUBSTANCE
                                         Vio. of 21 U.S.C. § 841(a)(1), (b)(1)(A)
 JACK HORSLEY,
                                        COUNT 2:
                  Defendant.            USE OF A FIREARM IN
                                        FURTHERANCE OF A DRUG
                                        TRAFFICKING CRIME
                                         Vio. of 18 U.S.C. § 924(c)

                                        COUNT 3:
                                        FELON IN POSSESSION OF
                                        FIREARMS
                                         Vio. of 18 U.S.C. §§ 922(g)(1) and
                                        924(a)(2)

                                        COUNT 4:
                                        POSSESSION OF CONTROLLED
                                        SUBSTANCES WITH INTENT TO
                                        DISTRIBUTE
                                         Vio. of 21 U.S.C. § 841(a)(1), (b)(1)(B)




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                                               ENHANCED STATUTORY
                                               PENALTIES ALLEGATION:
                                                21 U.S.C. § 841(b)(1)(A)

                                               CRIMINAL FORFEITURE
                                               ALLEGATION 1:
                                                21 U.S.C. § 853 and Rule 32.2(a)

                                               CRIMINAL FORFEITURE
                                               ALLEGATION 2:
                                                18 U.S.C. § 924(d), 28 U.S.C. §
                                               2461(c), and Rule 32.2(a)

                                 INDICTMENT

      The Grand Jury charges that:

                                       COUNT 1

      On or about December 10, 2020, within the District of Alaska, the defendant, JACK

HORSLEY, knowingly and intentionally distributed a controlled substance, to wit: 50

grams or more of pure methamphetamine.

      All of which is in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A).

                                       COUNT 2

      On or about December 10, 2020, within the District of Alaska, the defendant, JACK

HORSLEY, did knowingly possess a firearm in furtherance of the drug trafficking crime

charged in Count 1.

      All of which is in violation of 18 U.S.C. § 924(c)(1)(A)(i).

                                       COUNT 3

      On or about December 10, 2020, within the District of Alaska, the defendant, JACK

HORSLEY, knowingly having been convicted of crimes punishable by imprisonment for


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a term exceeding one year, did knowingly possess, in and affecting interstate and foreign

commerce, firearms, to wit:

       1.     Norinco Rifle, Model: SKS, Caliber: 7.62x39

       2.     Hi-Point Pistol, Model: JHP, Caliber: .45

       3.     Ruger Pistol, Model: Mark I, Caliber: .22

       4.     Remington Rifle, Model: 572, Caliber: .22

       5.     Winchester Shotgun, Model: 1912, Caliber: 12

       6.     Winchester Rifle, Model: 1917, Caliber: .30

       7.     Ruger Frame, Model: M77R, Caliber: 220 Swift

       8.     Parker-Hale LTD Rifle, Model: Unk, Caliber: .270

       9.     Colt Pistol, Model: Target Model, Caliber: .22

       10.    Lames Shotgun, Model: Chaivari, Caliber: 12

       11.    Remington Shotgun, Model: 870, Caliber: 12

                                    Prior Conviction

 Conviction Date                Offense                        Court            Case No.
                       Third Degree Misconduct
                                                       Superior Court for the   3KN-08-
   April 7, 2009         Involving Controlled
                                                          State of Alaska        55CR
                              Substance

       All of which is in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

                                       COUNT 4

       On or about December 11, 2020, within the District of Alaska, the defendant, JACK

HORSLEY, knowingly and intentionally possessed with intent to distribute controlled

substances, to wit:

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       (1) 100 grams or more of a mixture or substance containing a detectable amount of

       heroin; and

       (2) 5 grams or more of methamphetamine.

       All of which is in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B).

                 ENHANCED STATUTORY PENALTIES ALLEGATION

       Before the defendant, JACK HORSLEY, committed the offenses charged in Counts

1 and 4, he had a final conviction entered in the Superior Court for the State of Alaska in

case 3KN-08-55CR for a serious drug felony, Third Degree Misconduct Involving

Controlled Substance, Alaska Statute § 11.71.030(a)(1), for which he served a term of

imprisonment of more than 12 months and for which his release from such term of

imprisonment was within 15 years of the commencement of the offense charged in Counts

1 and 4.

       All pursuant to 21 U.S.C. § 841(b)(1)(A).

                      CRIMINAL FORFEITURE ALLEGATION 1

       Upon conviction of the offenses alleged in Count 1 or Count 4 of this Indictment,

the defendant, JACK HORSLEY, shall forfeit to the United States any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the

said violation and any property used, or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the said violations, including but not limited to

the following:

       1.     Approximately $18,634 in United States Currency

       2.     Royal Sovereignty Money Counter, Model RBC100BK

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      3.     Norinco Rifle, Model: SKS, Caliber: 7.62x39, Serial #: 016902

      4.     Hi-Point Pistol, Model: JHP, Caliber: .45, Serial #: X435548

      5.     Ruger Pistol, Model: Mark I, Caliber: .22, Serial #: 182608

      6.     Winchester Shotgun, Model: 1912, Caliber: 12, Serial #: 212304

      7.     Winchester Rifle, Model: 1917, Caliber: .30, Serial #: 75693

      8.     Ruger Frame, Model: M77R, Caliber: 220 Swift, Serial #: 77-74538

      9.     Parker-Hale LTD Rifle, Model: Unk, Caliber: .270, Serial #: R-86650

      10.    Lames Shotgun, Model: Chaivari, Caliber: 12, Serial #: 2466

      11.    Remington Shotgun, Model: 870, Caliber: 12, Serial #: V824339V

      12.    All related magazines and ammunition

   All pursuant to 21 U.S.C. § 853 and Rule 32.2(a) of the Federal Rules of

Criminal Procedure.

                      CRIMINAL FORFEITURE ALLEGATION 2

      Upon conviction of the offenses alleged in Count 2 or Count 3 of this Indictment,

the defendant, JACK HORSLEY, shall forfeit to the United States any firearms and

ammunition used in knowing violation of the offenses, including but not limited to the

following:

      1.     Norinco Rifle, Model: SKS, Caliber: 7.62x39, Serial #: 016902

      2.     Hi-Point Pistol, Model: JHP, Caliber: .45, Serial #: X435548

      3.     Ruger Pistol, Model: Mark I, Caliber: .22, Serial #: 182608

      4.     Winchester Shotgun, Model: 1912, Caliber: 12, Serial #: 212304

      5.     Winchester Rifle, Model: 1917, Caliber: .30, Serial #: 75693

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        6.    Ruger Frame, Model: M77R, Caliber: 220 Swift, Serial #: 77-74538

        7.    Parker-Hale LTD Rifle, Model: Unk, Caliber: .270, Serial #: R-86650

        8.    Lames Shotgun, Model: Chaivari, Caliber: 12, Serial #: 2466

        9.    Remington Shotgun, Model: 870, Caliber: 12, Serial #: V824339V

        10.   All related magazines and ammunition

   All pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c), and Rule 32.2(a) of

the Federal Rules of Criminal Procedure.

        A TRUE BILL.

                                                s/ Grand Jury Foreperson
                                                GRAND JURY FOREPERSON

s/ Seth Brickey
SETH BRICKEY
Assistant United States Attorney
United States of America


s/ Kathryn Vogel for
S. LANE TUCKER
United States Attorney
United States of America


Date:         9-20-22




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